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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION


 WASEEM DAKER,

                 Plaintiff,                                   CIVIL ACTION NO.: 6:14-cv-47

         v.

 BRIAN OWENS, et al.,

                 Defendants.


                                             ORDER

        This matter is before the Court on Plaintiff’s Motion for Access to Legal Materials.

Doc. 411. Plaintiff urges this Court to order Defendants or Warden Adams, who is not a party to

this case, to permit Plaintiff to keep certain legal materials in his cell or to provide “readily

available access” to his legal materials. Id. at 2. Plaintiff provides no legal basis for this request.

Plaintiff does not explain whether he makes this request under the rules governing discovery, as

an injunction, or through some other mechanism. Regardless, the Court has repeatedly denied

Plaintiff’s requests for access to his legal materials. See, e.g., Docs. 432, 445. Moreover,

Plaintiff made the request primarily based on Warden Adams’ purported refusal to allow him to

read and review Defendants’ motion for sanctions. Doc. 411 at 1–2. However, Plaintiff filed a

response to that motion on May 5, 2022, and the Court has since ruled on it. Docs. 418, 430,
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431. Thus, the basis upon which Plaintiff made the request is moot. Accordingly, the Court

DENIES Plaintiff’s Motion for Access to Legal Materials. 1 Doc. 411.

        SO ORDERED, this 24th day of June, 2022.




                                         ____________________________________
                                         BENJAMIN W. CHEESBRO
                                         UNITED STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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     Similarly, to the extent Plaintiff requests a telephonic status conference, this request is also
DENIED as moot.


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